Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Akademi Opyson Komes, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6339 Charlotte Pike, #1142                                      3615 Echo Lane
                                  Nashville, TN 37209                                             Nashville, TN 37218
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Davidson                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




              Case 3:23-bk-02084                  Doc 1     Filed 06/13/23 Entered 06/13/23 13:26:57                               Desc Main
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Akademi Opyson Komes, LLC                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    Akademi Opyson Komes, LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
               Case 3:23-bk-02084                       Doc 1        Filed 06/13/23 Entered 06/13/23 13:26:57                                 Desc Main
Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Akademi Opyson Komes, LLC                                                Case number (if known)
         Name

                           $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                           $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                           $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




             Case 3:23-bk-02084       Doc 1        Filed 06/13/23 Entered 06/13/23 13:26:57                      Desc Main
Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Akademi Opyson Komes, LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 13, 2023
                                                  MM / DD / YYYY


                             X   /s/ Djhondel NMN Gay                                                     Djhondel NMN Gay
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Manager




18. Signature of attorney    X   /s/ Steven L. Lefkovitz                                                   Date June 13, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Steven L. Lefkovitz 5953
                                 Printed name

                                 LEFKOVITZ & LEFKOVITZ
                                 Firm name

                                 908 HARPETH VALLEY PLACE
                                 NASHVILLE, TN 37221
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     615-256-8300                  Email address      slefkovitz@lefkovitz.com

                                 5953 TN
                                 Bar number and State




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Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Debtor     Akademi Opyson Komes, LLC                                                        Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                   Chapter      7
                                                                                                                     Check if this an
                                                                                                                     amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Djondel Gay                                                             Relationship to you
District   Middle District of Tennessee               When                         Case number, if known
Debtor     Financial Investment Holiding, LLC                                      Relationship to you
District   Middle District of Tennessee               When                         Case number, if known




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Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 6
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Fill in this information to identify the case:

Debtor name         Akademi Opyson Komes, LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 13, 2023                   X /s/ Djhondel NMN Gay
                                                           Signature of individual signing on behalf of debtor

                                                            Djhondel NMN Gay
                                                            Printed name

                                                            Chief Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




          Case 3:23-bk-02084                  Doc 1       Filed 06/13/23 Entered 06/13/23 13:26:57                             Desc Main
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 Fill in this information to identify the case:

 Debtor name            Akademi Opyson Komes, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                     0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    69.38

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    69.38


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                     0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                     0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           514,527.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             514,527.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
             Case 3:23-bk-02084                                   Doc 1             Filed 06/13/23 Entered 06/13/23 13:26:57                                                           Desc Main
                                                                                    Document     Page 8 of 58
Fill in this information to identify the case:

Debtor name         Akademi Opyson Komes, LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Chase Bank                                        checking                                                                           $68.56



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                          $68.56
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1


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Debtor        Akademi Opyson Komes, LLC                                              Case number (If known)
              Name



                                                                                               Valuation method used   Current value of
                                                                                               for current value       debtor's interest

14.        Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:


           14.1.   Fidelity Investment report                                                                                           $0.82



15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership

16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


17.        Total of Part 4.                                                                                                           $0.82
           Add lines 14 through 16. Copy the total to line 83.

Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 2

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Debtor       Akademi Opyson Komes, LLC                                                     Case number (If known)
             Name

Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                            page 3

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Debtor          Akademi Opyson Komes, LLC                                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                   $68.56

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.82

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                    $69.38        + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                         $69.38




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 4

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                                                                                                                                                              2022 YEAR-END INVESTMENT REPORT
                                                                                                                                                                January 1, 2022 - December 31, 2022

                                                                                                             FIDELITY ACCOUNT AKADEMI OPSYON KOMES LLC
                                                                                                                Account Number: Z19-623298

                                     Envelope # BNJNFCBBBHSVP                                                Your Account Value:                                                                  $0.82
                                                                                                             Change Since January 1:                                                                $262.70
           AKADEMI OPSYON KOMES LLC
           3615 ECHO LN                                                                                      Beginning Account Value as of Jan 1, 2022                                              $263.52
           NASHVILLE TN 37218-1511
                                                                                                             Additions                                                                            48,100.00
                                                                                                             Subtractions                                                                         -30,272.59
                                                                                                                  Transaction Costs, Fees & Charges                                                   -15.37
                                                                                                             Change in Investment Value *                                                         -18,090.11
                                                                                                             Ending Account Value as of Dec 31, 2022 **                                                $0.82


                                                                                                             FOR YOUR INFORMATION
                                                                                                             This statement is not a replacement for your tax forms and may not reflect all
                                                                                                             adjustments necessary for your tax reporting purposes. Refer to your IRS tax
                                                                                                             forms including your Form(s) 1099 and Form(s) 5498, which will be mailed to you
                                                                                                             under separate cover.
 Contact Information
                                                                                                             *      Reflects appreciation or depreciation of your holdings due to price changes, transactions
 Online                                                                               Fidelity.com                  from Other Activity In or Out and Multi-currency transactions, plus any distribution and




                                                                                                                                                                                                                   P
 FAST®-Automated Telephone                                                        (800) 544-5555                    income earned during the statement period.
                                                                                                             **     Excludes unpriced securities.
 Customer Service                                                                 (800) 544-6666




                                                                                                                                                                                                                   YR_CE _BNJNFCBBBHSVP_BBBBB 20230110
Brokerage services provided by Fidelity Brokerage Services LLC (FBS), Member NYSE, SIPC (800) 544-6666. Brokerage accounts carried by National Financial Services LLC (NFS), Member NYSE, SIPC.
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                                                                                  Document      Page 13 of 58
H01854503120221231
                                                                                                                                          2022 YEAR-END INVESTMENT REPORT
                                                                                                                                            January 1, 2022 - December 31, 2022




                                                                                                                                                       Account # Z19-623298
Account Summary                                                                                                            AKADEMI OPSYON KOMES LLC - LIMITED LIABILITY CO


Account Value:                                                                      $0.82         Account Holdings
                                                                                                                     Jan 1, 2022                           Dec 31, 2022



Change Since January 1                                                              $262.70


Beginning Account Value as of Jan 1, 2022                                             $263.52
Additions                                                                           48,100.00
    Deposits                                                                        30,000.00
    Exchanges In                                                                    18,100.00
Subtractions                                                                       -30,272.59             100% Core Account                      100% Core Account
  Withdrawals                                                                      -10,865.00
    Exchanges Out                                                                  -19,392.22
    Transaction Costs, Fees & Charges                                                   -15.37
                                                                                                                                                   % of                          % of
Change in Investment Value *                                                       -18,090.11                                            Value Portfolio               Value Portfolio
                                                                                                  Holding Type                           Jan 1    Jan 1               Dec 31  Dec 31
Ending Account Value as of Dec 31, 2022                                                  $0.82




                                                                                                                                                                                            P
                                                                                                  Core Account                           $263     100%                     $0   100%
                                                                                                  Total                                  $263     100%                     $0   100%
Total Account Trades Jan 2022 - Dec 2022: 20




                                                                                                                                                                                            YR_CE _BNJNFCBBBHSVP_BBBBB 20230110
*     Reflects appreciation or depreciation of your holdings due to price changes, transactions
      from Other Activity In or Out and Multi-currency transactions, plus any distribution and    Income Summary
      income earned during the statement period.
                                                                                                                                                                          Dec 31, 2022
                                                                                                  Taxable                                                                        $0.89
Core Account and Credit Balance Cash Flow                                                         Ordinary Dividends
                                                                                                      Dividends                                                                   0.89
Beginning Balance as of Jan 1, 2022                                                   $263.52
                                                                                                  Total                                                                          $0.89
Investment Activity
Securities Bought                                                                -$89,971.16
Securities Sold                                                                    71,864.79
Dividends, Interest & Other Income D                                                    0.89




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                                                                                                                       2022 YEAR-END INVESTMENT REPORT
                                                                                                                         January 1, 2022 - December 31, 2022




                                                                                                                                    Account # Z19-623298
Core Account and Credit Balance Cash Flow          (continued)
                                                                                                        AKADEMI OPSYON KOMES LLC - LIMITED LIABILITY CO

Exchanges In                                                          18,100.00
Exchanges Out                                                        -19,392.22
Total Investment Activity                                          -$19,397.70
Cash Management Activity
Deposits                                                              30,000.00
Withdrawals                                                          -10,865.00
Total Cash Management Activity                                      $19,135.00
Ending Balance as of Dec 31, 2022                                           $0.82

D   Includes dividend reinvestments.


Holdings

Core Account
                                                                                      Price           Total
Description                                                      Quantity           Per Unit   Market Value                                     Income Earned
FIDELITY GOVERNMENT MONEY                                          0.820            $1.0000           $0.82                                             $0.89
MARKET (SPAXX)
-- 7-day yield: 3.84%




                                                                                                                                                                  P
Total Core Account (100% of account                                                                   $0.82                                             $0.89
holdings)




                                                                                                                                                                  YR_CE _BNJNFCBBBHSVP_BBBBB 20230110
Total Holdings                                                                                        $0.82                                            $0.89




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Information About Your Fidelity Statement                                                                               using the FIFO method if shares were purchased at different times or prices. Statement Mailing We deliver
                                                                                                                        statements at least four times during the calendar year for any account with a balance.
Lost or Stolen Cards For 24-Hour worldwide customer service, call 800-529-2164 for American Express or                  Statement Discrepancies Please review your statement and report any inaccuracies or discrepancies.
800-323-5353 for Fidelity® Debit Card.                                                                                  Inquiries, concerns or questions regarding your brokerage account or the activity therein should be
Additional Investments with Fidelity Make checks payable to Fidelity Investments. Include your account                  directed to FBS by calling 800-544-6666, and NFS, who carries your brokerage accounts, by calling
number on the check. For retirement and health savings accounts (HSA), designate in the memo field whether              866-408-1138. Any oral communications regarding inaccuracies or discrepancies should be reconfirmed in
your contribution is for the current or prior year. Mail checks or other inquiries to: Fidelity Investments, P.O. Box   writing to protect your rights, including those under the Securities Investor Protection Act (SIPA).
770001, Cincinnati, OH 45277-0003.                                                                                      Material Changes Please advise us of material changes in your investment objectives or financial situation
Income Summary Shows income by tax status for the statement and year-to-date periods. Except for interest               related to your brokerage account(s).
income earned on, or distributed by, tax-exempt securities, Fidelity reports dividends and capital gains held in        Mutual Funds and Performance Before investing, consider the funds' investment objectives, risks,
taxable accounts as taxable income. A portion of income reported as tax-exempt income may be subject to                 charges and expenses. Contact Fidelity for a prospectus containing this information. Read it carefully.
alternative minimum taxes and/or state and local taxes. In Traditional IRAs, Rollover IRAs, SEP-IRAs, SIMPLE            Performance data shown represents past performance and is no guarantee of future results.
IRAs and Keoghs, earnings are reported as tax-deferred income. In Roth IRAs and HSAs, earnings are reported             Investment return and principal value will fluctuate, so you may have a gain or loss when shares are
as tax-exempt income as they may be federally tax-exempt if certain conditions are met.                                 sold. Current performance may be higher or lower than that quoted. Visit Fidelity.com/performance for
Cost Basis, Gain/Loss, and Holding Period Information NFS is required to report certain cost basis and                  most recent month-end performance.
holding period information to the IRS on Form 1099-B. Unless otherwise specified, NFS applies the average               Sales Loads & Fees Each fund reserves the right to terminate or modify its exchange privilege in the future. In
cost method for open-end mutual funds and the first-in, first-out (FIFO) method for all other securities. Cost          connection with (i) access to, purchase, sale, exchange or redemption of, and/or maintenance of positions in
basis is adjusted for wash sales on securities with the same CUSIP held in the same account (unless your                mutual funds, ETFs and other investment products ("funds") or (ii) infrastructure needed to support such funds,
account receives mark-to-market reporting). Your statement may not reflect all adjustments required for tax             some funds, or their investment affiliates, pay FBS and/or NFS sales loads and 12b-1 fees described in the
purposes. Customers should consult their tax advisors for further information.                                          prospectus as well as additional compensation for shareholder services, start-up fees, platform support and
Cost Fidelity provides purchase cost information for securities held in retirement and HSA accounts. Such               maintenance, and marketing, engagement and analytics programs. Additional information about the source(s)
information may be adjusted for certain transactions and does not reflect dividends or capital gains                    and amount(s) of compensation as well as other remuneration received by FBS or NFS will be furnished to you
reinvestments. Fidelity reports transaction profit or loss information when securities are sold within a retirement     upon written request. At the time you purchase shares of funds those shares will be assigned either a load,
or HSA account. Transaction profit or loss is calculated by subtracting purchase cost from sales proceeds               transaction fee (TF) or no transaction fee (NTF) status. When you subsequently sell those shares, any fees
                                                                                                                        applicable to your transaction will be assessed based on the status assigned to the shares at the time of
                                                                                                                        purchase.

Additional Information About Your Brokerage Account, If Applicable                                                      value at which the security may be sold or purchased based on various market factors. The sale or redemption
                                                                                                                        of any fixed income security prior to maturity may result in a loss. Prices for Certificates of Deposits (CDs) on
Free credit balances (FCB) are funds payable to you on demand. FCB are subject to open commitments such                 your statement are generally estimates and are not based on actual market prices. The secondary market for
as uncleared checks and exclude proceeds from sales of certificated securities without delivery of the                  CDs is generally illiquid. You should always request a current valuation for your securities prior to making a
certificate. If your FCB is swept to a core position, you can liquidate the core position and have the proceeds         financial decision or placing an order.
sent to you or held in your account subject to the terms of your account agreement. Required rule 10b-10(a)             Executing Orders on the Floor of the NYSE The Floor broker may permit the Designated Market Maker to
information not contained herein will be provided on written request. Fidelity may use this free credit balance in      trade on parity with the order for some or all of the executions associated with filling that order, where such
connection with its business, subject to applicable law. Assets Separate from Your Brokerage Account Only               permission would not be inconsistent with the broker's best execution obligations.
securities in the margin portion of your brokerage account contribute to margin and maintenance requirements.           SIPC Securities in accounts carried by NFS, a Fidelity Investments company, are protected in accordance with
Other Assets, which may be reported on your statement, including insurance products that are distributed by             the SIPC up to $500,000 (including cash claims limited to $250,000). For details, including the SIPC brochure,
FBS and Fidelity Insurance Agency, Inc. and mutual fund only accounts held directly with the fund (Fidelity             please see www.sipc.org or call 1-202-371-8300. NFS has arranged for additional protection for cash and
Mutual Fund Accounts) are not carried by NFS, not covered by the Securities Investor Protection Corporation             covered securities to supplement its SIPC coverage. Neither coverage protects against a decline in the market
(SIPC) and do not count toward your margin and maintenance requirements. Assets held in brokerage                       value of securities.
accounts managed by Fidelity Personal and Workplace Advisors LLC (FPWA) are carried by NFS and covered                  Fidelity Investments Fidelity Distributors Company LLC (FDC) is the distributor for Fidelity Funds with
by SIPC but do not contribute to your margin and maintenance requirements. Short Account Balances                       marketing and shareholder services provided by FBS or NFS. Brokerage services are provided by FBS,




                                                                                                                                                                                                                                             P
Securities sold short are held in a segregated short account. These securities are marked-to-market for margin          which clears all transactions through its affiliate, NFS. NFS carries all brokerage accounts. FBS and
purposes, and any increase or decrease from the previous week's value is transferred weekly to your margin              NFS are members of the NYSE and SIPC. Upon written request, Fidelity will mail an NFS financial statement,
account. Fidelity represents your short account balance as of the last weekly mark-to-market, not as of the             which is also available for inspection at its office. Fidelity Investments (with pyramid logo) is a trademark of
statement end date. Information About Your Option Transactions Each transaction confirmation previously                 FMR LLC.
delivered to you contains full information about commissions and other charges, and such information is                 FPWA Services Fidelity Go®, Fidelity Managed FidFolios SM and Fidelity® Strategic Disciplines are advisory




                                                                                                                                                                                                                                             YR_CE _BNJNFCBBBHSVP_BBBBB 20230110
available promptly upon request. Assignments of American and European-style options are allocated among                 services offered by FPWA, a registered investment adviser. Fidelity® Strategic Disciplines includes the
customer short positions pursuant to a random allocation procedure, a description is available upon request.            Breckinridge Intermediate Municipal Strategy, the Fidelity® Equity-Income Strategy, the Fidelity® Tax-Managed
Short positions in American-style options are liable for assignment anytime. The writer of a European-style             U.S. Equity Index Strategy, the Fidelity® U.S. Large Cap Equity Strategy, the Fidelity® International Equity
option is subject to exercise assignment only during the exercise period. For more information, please call             Strategy, the Fidelity® Tax-Managed International Equity Index Strategy, the Fidelity® Intermediate Municipal
Fidelity at 800-544-6666. Equity Dividend Reinvestment Shares credited to your account resulted from                    Strategy and the Fidelity® Core Bond Strategy. Fidelity® Wealth Services are advisory services offered by
transactions by FBS acting as agent for your account, or the Depository Trust Company (DTC). Price                      FPWA or Fidelity Personal Trust Company, FSB (FPTC), a federal savings bank. Nondeposit investment
Information/Total Market Value The Total Market Value has been calculated out to 9 decimal places but the               products and trust services offered by FPTC and its affiliates are not insured or guaranteed by the Federal
individual unit price is displayed in 5 decimal places. The Total Market Value represents prices obtained from          Deposit Insurance Corporation or any other government agency, are not obligations of any bank, and are
various sources, may be impacted by the frequency with which such prices are reported and such prices are               subject to risk, including possible loss of principal. These advisory services are provided for a fee. FBS,
not guaranteed. Prices received from pricing vendors are generally based on current market quotes, but when             NFS, FDC, FPWA and FPTC are direct or indirect subsidiaries of FMR LLC.
such quotes are not available the pricing vendors use a variety of techniques to estimate value. These                  Miscellaneous Mutual fund shares, other securities held in your account, and insurance products are neither
estimates, particularly for fixed income securities, may be based on certain minimum principal amounts (e.g. $1         deposits nor obligations of, nor endorsed or guaranteed by, any bank or other depositing institution, nor are they
million) and may not reflect all of the factors that affect the value of the security, including liquidity risk. In     federally insured by the FDIC or any other agency. If you request a reprint of your statement, the disclosure
certain situations, a price may be derived from a single market participant, also known as a "single broker             information may not be the same as the information originally provided. To confirm that an authorized, direct
quote". The prices provided are not firm bids or offers. Certain securities may reflect as N/A or unavailable           deposit has been made to your Fidelity Account or Fidelity Mutual Fund Account, call Fidelity at
where the price for such security is generally not available from a pricing source. The Market Value of a               1-800-544-5555.
security, including those priced at par value, may differ from its purchase price and may not closely reflect the                                                                                                            588130.55.0




                                    Case 3:23-bk-02084                        Doc 1        Filed 06/13/23 Entered 06/13/23 13:26:57                                             Desc Main                                                4 of 4
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Fill in this information to identify the case:

Debtor name       Akademi Opyson Komes, LLC

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1


          Case 3:23-bk-02084                    Doc 1     Filed 06/13/23 Entered 06/13/23 13:26:57                              Desc Main
                                                         Document      Page 17 of 58
Fill in this information to identify the case:

Debtor name        Akademi Opyson Komes, LLC

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown       Unknown
          IRS                                                  Check all that apply.
          CNTRLZD INSOLVENCY OPRTN                                Contingent
          PO BOX 7346                                             Unliquidated
          PHILADELPHIA, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $10,000.00
          Ageleur Clauvil                                                        Contingent
          200 Beaufort Lane
                                                                                 Unliquidated
          Milford, DE 19963
                                                                                 Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:     Investor debt
                                                                             Is the claim subject to offset?           No   Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $137.00
          Aldous and Associates, PLLC                                            Contingent
          Attn: Bankruptcy                                                       Unliquidated
          PO Box 171374                                                          Disputed
          Holladay, UT 84117
                                                                             Basis for the claim:     05 WORKOUT ANYTIME SMYRNA TN
          Date(s) debt was incurred Opened 3/29/19
          Last 4 digits of account number 74N1                               Is the claim subject to offset?           No   Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 9
                                                                                                               31811
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            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Amex
         Correspondence/Bankruptcy                                    Contingent
         PO Box 981540                                                Unliquidated
         El Paso, TX 79998                                            Disputed
         Date(s) debt was incurred Opened 2/18/17 Last
                                                                   Basis for the claim:    Credit Card
         Active 3/07/21
         Last 4 digits of account number 2181                      Is the claim subject to offset?     No       Yes


3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $30,000.00
         Angliche Petion                                              Contingent
         204 Beaver Dam Dr
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,000.00
         Angliche Petion                                              Contingent
         204 Beaver Dam Dr
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Annette Pierrette                                            Contingent
         1214 Division St.
                                                                      Unliquidated
         Salisbury, MD 21801
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,606.00
         Ascend Federal Credit Union
         Attn: Bankruptcy                                             Contingent
         PO Box 1210                                                  Unliquidated
         Tullahoma, TN 37388                                          Disputed
         Date(s) debt was incurred Opened 11/18 Last
                                                                   Basis for the claim:    Credit Card
         Active 02/23
         Last 4 digits of account number 0085                      Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,600.00
         Ascend Federal Credit Union
         Attn: Bankruptcy                                             Contingent
         PO Box 1210                                                  Unliquidated
         Tullahoma, TN 37388                                          Disputed
         Date(s) debt was incurred Opened 11/18 Last
                                                                   Basis for the claim:    Credit Card
         Active 4/12/23
         Last 4 digits of account number 9880                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 9



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            Name

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Astrogildo Souza Dos Santos                                  Contingent
         Rua Manuel Vierra Leite Cep 41.130.760
                                                                      Unliquidated
         Date(s) debt was incurred
                                                                      Disputed
         Last 4 digits of account number
                                                                   Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $20,000.00
         Astrogildo Souza Dos Santos                                  Contingent
         Rua Manuel Vierra Leite Cep 41.130.760
                                                                      Unliquidated
         Date(s) debt was incurred
                                                                      Disputed
         Last 4 digits of account number
                                                                   Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Bank of America
         Attn: Bankruptcy                                             Contingent
         4909 Savarese Circle                                         Unliquidated
         Tampa, FL 33634                                              Disputed
         Date(s) debt was incurred   Opened 03/16 Last
                                                                   Basis for the claim:    Credit Card
         Active 11/07/18
         Last 4 digits of account number   9243                    Is the claim subject to offset?     No       Yes


3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Beatrice Mentor                                              Contingent
         3855 Vandyke Ave
                                                                      Unliquidated
         San Diego, CA 92105
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,000.00
         Caleb Nahum Petion                                           Contingent
         408 Decatur Ave
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,800.00
         CHEADLE LAW                                                  Contingent
         2404 CRESTMOOR ROAD
                                                                      Unliquidated
         Nashville, TN 37215
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,000.00
         Chika Ibejiuba                                               Contingent
         110 West Kingsbridge Road
                                                                      Unliquidated
         Mount Vernon, NY 10550
                                                                      Disputed
         Date(s) debt was incurred Opened 04/23 Last
         Active 5/17/23                                            Basis for the claim:    Investor debt
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 9



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Debtor      Akademi Opyson Komes, LLC                                                       Case number (if known)
            Name

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $20,000.00
         Declan Dire                                                  Contingent
         49 Soulice Place
                                                                      Unliquidated
         New Rochelle, NY 10804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,000.00
         Edith Francois                                               Contingent
         606 Liberty St
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,000.00
         Evariste Amisial                                             Contingent
         6770 Edwards Ave
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $824.00
         First Premier Bank
         Attn: Bankruptcy                                             Contingent
         PO Box 5524                                                  Unliquidated
         Sioux Falls, SD 57117                                        Disputed
         Date(s) debt was incurred Opened 08/21 Last
                                                                   Basis for the claim:    Credit Card
         Active 3/28/23
         Last 4 digits of account number 7116                      Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Foursight Capital, LLC.
         Attn: Bankruptcy                                             Contingent
         PO Box 45026                                                 Unliquidated
         Salt Lake City, UT 84145                                     Disputed
         Date(s) debt was incurred Opened 04/16 Last
                                                                   Basis for the claim:    Automobile
         Active 03/21
         Last 4 digits of account number 7383                      Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Garline L Petion                                             Contingent
         204 Beaver Dam Dr
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,000.00
         Gesner Charles                                               Contingent
         515 East Isabella Street
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 9



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            Name


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $20,000.00
         Gladys Guillaume                                             Contingent
         315 Tilghman St.
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $20,000.00
         Great Commission Church                                      Contingent
         225 N Division St
                                                                      Unliquidated
         Salisbury, MD 21801
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Joasch Frejuste                                              Contingent
         606 Liberty Street
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,685.00
         LENDING POINT                                                Contingent
         1201 ROBERTS BLVD #200                                       Unliquidated
         KENNESAW GA 30144                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,450.00
         LendingPoint LLC.
         Attn: Bankruptcy                                             Contingent
         1201 Roberts Blvd Suite 200                                  Unliquidated
         Kennesaw, GA 30144                                           Disputed
         Date(s) debt was incurred Opened 04/22 Last
                                                                   Basis for the claim:    Unsecured
         Active 4/23/23
         Last 4 digits of account number 5419                      Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Leonard A Jeancharles                                        Contingent
         3855 Vandyke Ave
                                                                      Unliquidated
         San Diego, CA 92105
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,000.00
         Lile Charles                                                 Contingent
         515 Isabella St
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 9



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Debtor      Akademi Opyson Komes, LLC                                                       Case number (if known)
            Name

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,000.00
         Manita Noel Daniel                                           Contingent
         2460 NW 63rd Ter
                                                                      Unliquidated
         Fort Lauderdale, FL 33313
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Marie France                                                 Contingent
         474 Hawkins Rd
                                                                      Unliquidated
         Selden, NY 11784
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,000.00
         Marie Joceline Lamy                                          Contingent
         204 Beaver Dam Dr
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Marie Lourde Francois                                        Contingent
         732 Hemlock St
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Mariner Finance
         Attn: Bankruptcy                                             Contingent
         8211 Town Center Drive                                       Unliquidated
         Nottingham, MD 21236                                         Disputed
         Date(s) debt was incurred Opened 08/11 Last
                                                                   Basis for the claim:
         Active 12/11
         Last 4 digits of account number 0016                      Is the claim subject to offset?     No       Yes


3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Mercidieu Delva                                              Contingent
         13406 Grace Lane
                                                                      Unliquidated
         Delmar, DE 19940
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,000.00
         Mireille Arthur                                              Contingent
         431 W 200 S Apt 1
                                                                      Unliquidated
         Provo, UT 84601
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 6 of 9



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Debtor      Akademi Opyson Komes, LLC                                                       Case number (if known)
            Name

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $60,000.00
         Mireille Arthur                                              Contingent
         431 W 200 S Apt 1
                                                                      Unliquidated
         Provo, UT 84601
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Moisena Dorcelis                                             Contingent
         1404 Emerson Ave
                                                                      Unliquidated
         Salisbury, MD 21801
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,000.00
         Nerlandsha Makie Petion                                      Contingent
         420 Dover St
                                                                      Unliquidated
         Salisbury, MD 21804
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Nickson Sylvestre                                            Contingent
         5362 Erika Pl
                                                                      Unliquidated
         Lake Worth, FL 33463
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $30,000.00
         Nise Francois                                                Contingent
         1886 Mathorn Dr
                                                                      Unliquidated
         Orlando, FL 32818
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,000.00
         Raoul Pierre Paul                                            Contingent
         39 Buttercup Cir N
                                                                      Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Investor debt
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Syncb/ccdstr
         Attn: Bankruptcy                                             Contingent
         PO Box 965060                                                Unliquidated
         Orlando, FL 32896                                            Disputed
         Date(s) debt was incurred   Opened 05/18 Last
                                                                   Basis for the claim:    Charge Account
         Active 12/31/20
         Last 4 digits of account number   5033                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 7 of 9



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Debtor       Akademi Opyson Komes, LLC                                                              Case number (if known)
             Name

3.44      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $425.00
          Synchrony Bank
          Attn: Bankruptcy                                                    Contingent
          PO Box 965060                                                       Unliquidated
          Orlando, FL 32896                                                   Disputed
          Date(s) debt was incurred   Opened 04/23 Last
                                                                           Basis for the claim:    Charge Account
          Active 5/17/23
          Last 4 digits of account number   8854                           Is the claim subject to offset?       No     Yes


3.45      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Synchrony Bank
          Attn: Bankruptcy                                                    Contingent
          PO Box 965060                                                       Unliquidated
          Orlando, FL 32896                                                   Disputed
          Date(s) debt was incurred   Opened 6/25/17 Last
                                                                           Basis for the claim:    Charge Account
          Active 6/21/19
          Last 4 digits of account number   4205                           Is the claim subject to offset?       No     Yes


3.46      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $10,000.00
          Tout Est Bien Petion                                                 Contingent
          423 Decatur Ave
                                                                               Unliquidated
          Salisbury, MD 21804
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                  Basis for the claim:    Investor debt
                                                                           Is the claim subject to offset?       No     Yes

3.47      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $25,000.00
          Yvenie Petion                                                        Contingent
          423 Dover St
                                                                               Unliquidated
          Salisbury, MD 21804
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                  Basis for the claim:    Investor debt
                                                                           Is the claim subject to offset?       No     Yes

3.48      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          Zaky Louis                                                           Contingent
          515 Isabella St
                                                                               Unliquidated
          Salisbury, MD 21804
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                  Basis for the claim:    Investor debt
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       514,527.00


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            Name


5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                       5c.     $              514,527.00




Official Form 206 E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                         Page 9 of 9



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Fill in this information to identify the case:

Debtor name       Akademi Opyson Komes, LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1


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Fill in this information to identify the case:

Debtor name      Akademi Opyson Komes, LLC

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Djondel Gay                 3615 Echo Lane                                            Ageleur Clauvil                    D
                                      Nashville, TN 37218                                                                          E/F       3.1
                                                                                                                                   G




   2.2    Djondel Gay                 3615 Echo Lane                                            Aldous and                         D
                                      Nashville, TN 37218                                       Associates, PLLC                   E/F       3.2
                                                                                                                                   G




   2.3    Djondel Gay                 3615 Echo Lane                                            Amex                               D
                                      Nashville, TN 37218                                                                          E/F       3.3
                                                                                                                                   G




   2.4    Djondel Gay                 3615 Echo Lane                                            Angliche Petion                    D
                                      Nashville, TN 37218                                                                          E/F       3.4
                                                                                                                                   G




   2.5    Djondel Gay                 3615 Echo Lane                                            Angliche Petion                    D
                                      Nashville, TN 37218                                                                          E/F       3.5
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                          Page 1 of 19

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Debtor    Akademi Opyson Komes, LLC                                               Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Djondel Gay              3615 Echo Lane                                      Annette Pierrette                  D
                                   Nashville, TN 37218                                                                    E/F    3.6
                                                                                                                          G




  2.7     Djondel Gay              3615 Echo Lane                                      Ascend Federal                     D
                                   Nashville, TN 37218                                 Credit Union                       E/F    3.7
                                                                                                                          G




  2.8     Djondel Gay              3615 Echo Lane                                      Ascend Federal                     D
                                   Nashville, TN 37218                                 Credit Union                       E/F    3.8
                                                                                                                          G




  2.9     Djondel Gay              3615 Echo Lane                                      Astrogildo Souza                   D
                                   Nashville, TN 37218                                 Dos Santos                         E/F    3.9
                                                                                                                          G




  2.10    Djondel Gay              3615 Echo Lane                                      Astrogildo Souza                   D
                                   Nashville, TN 37218                                 Dos Santos                         E/F    3.10
                                                                                                                          G




  2.11    Djondel Gay              3615 Echo Lane                                      Bank of America                    D
                                   Nashville, TN 37218                                                                    E/F    3.11
                                                                                                                          G




  2.12    Djondel Gay              3615 Echo Lane                                      Beatrice Mentor                    D
                                   Nashville, TN 37218                                                                    E/F    3.12
                                                                                                                          G




  2.13    Djondel Gay              3615 Echo Lane                                      Caleb Nahum Petion                 D
                                   Nashville, TN 37218                                                                    E/F    3.13
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 19

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         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.14    Djondel Gay              3615 Echo Lane                                      CHEADLE LAW                        D
                                   Nashville, TN 37218                                                                    E/F    3.14
                                                                                                                          G




  2.15    Djondel Gay              3615 Echo Lane                                      Chika Ibejiuba                     D
                                   Nashville, TN 37218                                                                    E/F    3.15
                                                                                                                          G




  2.16    Djondel Gay              3615 Echo Lane                                      Declan Dire                        D
                                   Nashville, TN 37218                                                                    E/F    3.16
                                                                                                                          G




  2.17    Djondel Gay              3615 Echo Lane                                      Edith Francois                     D
                                   Nashville, TN 37218                                                                    E/F    3.17
                                                                                                                          G




  2.18    Djondel Gay              3615 Echo Lane                                      Evariste Amisial                   D
                                   Nashville, TN 37218                                                                    E/F    3.18
                                                                                                                          G




  2.19    Djondel Gay              3615 Echo Lane                                      First Premier Bank                 D
                                   Nashville, TN 37218                                                                    E/F    3.19
                                                                                                                          G




  2.20    Djondel Gay              3615 Echo Lane                                      Foursight Capital,                 D
                                   Nashville, TN 37218                                 LLC.                               E/F    3.20
                                                                                                                          G




  2.21    Djondel Gay              3615 Echo Lane                                      Garline L Petion                   D
                                   Nashville, TN 37218                                                                    E/F    3.21
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 3 of 19

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         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.22    Djondel Gay              3615 Echo Lane                                      Gesner Charles                     D
                                   Nashville, TN 37218                                                                    E/F    3.22
                                                                                                                          G




  2.23    Djondel Gay              3615 Echo Lane                                      Gladys Guillaume                   D
                                   Nashville, TN 37218                                                                    E/F    3.23
                                                                                                                          G




  2.24    Djondel Gay              3615 Echo Lane                                      Great Commission                   D
                                   Nashville, TN 37218                                 Church                             E/F    3.24
                                                                                                                          G




  2.25    Djondel Gay              3615 Echo Lane                                      IRS                                D
                                   Nashville, TN 37218                                                                    E/F    2.1
                                                                                                                          G




  2.26    Djondel Gay              3615 Echo Lane                                      Joasch Frejuste                    D
                                   Nashville, TN 37218                                                                    E/F    3.25
                                                                                                                          G




  2.27    Djondel Gay              3615 Echo Lane                                      LENDING POINT                      D
                                   Nashville, TN 37218                                                                    E/F    3.26
                                                                                                                          G




  2.28    Djondel Gay              3615 Echo Lane                                      LendingPoint LLC.                  D
                                   Nashville, TN 37218                                                                    E/F    3.27
                                                                                                                          G




  2.29    Djondel Gay              3615 Echo Lane                                      Leonard A                          D
                                   Nashville, TN 37218                                 Jeancharles                        E/F    3.28
                                                                                                                          G




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Debtor    Akademi Opyson Komes, LLC                                               Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.30    Djondel Gay              3615 Echo Lane                                      Lile Charles                       D
                                   Nashville, TN 37218                                                                    E/F    3.29
                                                                                                                          G




  2.31    Djondel Gay              3615 Echo Lane                                      Manita Noel Daniel                 D
                                   Nashville, TN 37218                                                                    E/F    3.30
                                                                                                                          G




  2.32    Djondel Gay              3615 Echo Lane                                      Marie France                       D
                                   Nashville, TN 37218                                                                    E/F    3.31
                                                                                                                          G




  2.33    Djondel Gay              3615 Echo Lane                                      Marie Joceline Lamy                D
                                   Nashville, TN 37218                                                                    E/F    3.32
                                                                                                                          G




  2.34    Djondel Gay              3615 Echo Lane                                      Marie Lourde                       D
                                   Nashville, TN 37218                                 Francois                           E/F    3.33
                                                                                                                          G




  2.35    Djondel Gay              3615 Echo Lane                                      Mariner Finance                    D
                                   Nashville, TN 37218                                                                    E/F    3.34
                                                                                                                          G




  2.36    Djondel Gay              3615 Echo Lane                                      Mercidieu Delva                    D
                                   Nashville, TN 37218                                                                    E/F    3.35
                                                                                                                          G




  2.37    Djondel Gay              3615 Echo Lane                                      Mireille Arthur                    D
                                   Nashville, TN 37218                                                                    E/F    3.36
                                                                                                                          G




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Debtor    Akademi Opyson Komes, LLC                                               Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.38    Djondel Gay              3615 Echo Lane                                      Mireille Arthur                    D
                                   Nashville, TN 37218                                                                    E/F    3.37
                                                                                                                          G




  2.39    Djondel Gay              3615 Echo Lane                                      Moisena Dorcelis                   D
                                   Nashville, TN 37218                                                                    E/F    3.38
                                                                                                                          G




  2.40    Djondel Gay              3615 Echo Lane                                      Nerlandsha Makie                   D
                                   Nashville, TN 37218                                 Petion                             E/F    3.39
                                                                                                                          G




  2.41    Djondel Gay              3615 Echo Lane                                      Nickson Sylvestre                  D
                                   Nashville, TN 37218                                                                    E/F    3.40
                                                                                                                          G




  2.42    Djondel Gay              3615 Echo Lane                                      Nise Francois                      D
                                   Nashville, TN 37218                                                                    E/F    3.41
                                                                                                                          G




  2.43    Djondel Gay              3615 Echo Lane                                      Raoul Pierre Paul                  D
                                   Nashville, TN 37218                                                                    E/F    3.42
                                                                                                                          G




  2.44    Djondel Gay              3615 Echo Lane                                      Syncb/ccdstr                       D
                                   Nashville, TN 37218                                                                    E/F    3.43
                                                                                                                          G




  2.45    Djondel Gay              3615 Echo Lane                                      Synchrony Bank                     D
                                   Nashville, TN 37218                                                                    E/F    3.44
                                                                                                                          G




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         Case 3:23-bk-02084             Doc 1      Filed 06/13/23 Entered 06/13/23 13:26:57                       Desc Main
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Debtor    Akademi Opyson Komes, LLC                                               Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.46    Djondel Gay              3615 Echo Lane                                      Synchrony Bank                     D
                                   Nashville, TN 37218                                                                    E/F    3.45
                                                                                                                          G




  2.47    Djondel Gay              3615 Echo Lane                                      Tout Est Bien Petion               D
                                   Nashville, TN 37218                                                                    E/F    3.46
                                                                                                                          G




  2.48    Djondel Gay              3615 Echo Lane                                      Yvenie Petion                      D
                                   Nashville, TN 37218                                                                    E/F    3.47
                                                                                                                          G




  2.49    Djondel Gay              3615 Echo Lane                                      Zaky Louis                         D
                                   Nashville, TN 37218                                                                    E/F    3.48
                                                                                                                          G




  2.50    Djondel NMN              3615 Echo Lane                                      Ageleur Clauvil                    D
          Gay                      Nashville, TN 37218                                                                    E/F    3.1
                                                                                                                          G




  2.51    Djondel NMN              3615 Echo Lane                                      Aldous and                         D
          Gay                      Nashville, TN 37218                                 Associates, PLLC                   E/F    3.2
                                                                                                                          G




  2.52    Djondel NMN              3615 Echo Lane                                      Amex                               D
          Gay                      Nashville, TN 37218                                                                    E/F    3.3
                                                                                                                          G




  2.53    Djondel NMN              3615 Echo Lane                                      Angliche Petion                    D
          Gay                      Nashville, TN 37218                                                                    E/F    3.4
                                                                                                                          G




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  2.54    Djondel NMN              3615 Echo Lane                                      Angliche Petion                    D
          Gay                      Nashville, TN 37218                                                                    E/F    3.5
                                                                                                                          G




  2.55    Djondel NMN              3615 Echo Lane                                      Annette Pierrette                  D
          Gay                      Nashville, TN 37218                                                                    E/F    3.6
                                                                                                                          G




  2.56    Djondel NMN              3615 Echo Lane                                      Ascend Federal                     D
          Gay                      Nashville, TN 37218                                 Credit Union                       E/F    3.7
                                                                                                                          G




  2.57    Djondel NMN              3615 Echo Lane                                      Ascend Federal                     D
          Gay                      Nashville, TN 37218                                 Credit Union                       E/F    3.8
                                                                                                                          G




  2.58    Djondel NMN              3615 Echo Lane                                      Astrogildo Souza                   D
          Gay                      Nashville, TN 37218                                 Dos Santos                         E/F    3.9
                                                                                                                          G




  2.59    Djondel NMN              3615 Echo Lane                                      Astrogildo Souza                   D
          Gay                      Nashville, TN 37218                                 Dos Santos                         E/F    3.10
                                                                                                                          G




  2.60    Djondel NMN              3615 Echo Lane                                      Bank of America                    D
          Gay                      Nashville, TN 37218                                                                    E/F    3.11
                                                                                                                          G




  2.61    Djondel NMN              3615 Echo Lane                                      Beatrice Mentor                    D
          Gay                      Nashville, TN 37218                                                                    E/F    3.12
                                                                                                                          G




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  2.62    Djondel NMN              3615 Echo Lane                                      Caleb Nahum Petion                 D
          Gay                      Nashville, TN 37218                                                                    E/F    3.13
                                                                                                                          G




  2.63    Djondel NMN              3615 Echo Lane                                      CHEADLE LAW                        D
          Gay                      Nashville, TN 37218                                                                    E/F    3.14
                                                                                                                          G




  2.64    Djondel NMN              3615 Echo Lane                                      Chika Ibejiuba                     D
          Gay                      Nashville, TN 37218                                                                    E/F    3.15
                                                                                                                          G




  2.65    Djondel NMN              3615 Echo Lane                                      Declan Dire                        D
          Gay                      Nashville, TN 37218                                                                    E/F    3.16
                                                                                                                          G




  2.66    Djondel NMN              3615 Echo Lane                                      Edith Francois                     D
          Gay                      Nashville, TN 37218                                                                    E/F    3.17
                                                                                                                          G




  2.67    Djondel NMN              3615 Echo Lane                                      Evariste Amisial                   D
          Gay                      Nashville, TN 37218                                                                    E/F    3.18
                                                                                                                          G




  2.68    Djondel NMN              3615 Echo Lane                                      First Premier Bank                 D
          Gay                      Nashville, TN 37218                                                                    E/F    3.19
                                                                                                                          G




  2.69    Djondel NMN              3615 Echo Lane                                      Foursight Capital,                 D
          Gay                      Nashville, TN 37218                                 LLC.                               E/F    3.20
                                                                                                                          G




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  2.70    Djondel NMN              3615 Echo Lane                                      Garline L Petion                   D
          Gay                      Nashville, TN 37218                                                                    E/F    3.21
                                                                                                                          G




  2.71    Djondel NMN              3615 Echo Lane                                      Gesner Charles                     D
          Gay                      Nashville, TN 37218                                                                    E/F    3.22
                                                                                                                          G




  2.72    Djondel NMN              3615 Echo Lane                                      Gladys Guillaume                   D
          Gay                      Nashville, TN 37218                                                                    E/F    3.23
                                                                                                                          G




  2.73    Djondel NMN              3615 Echo Lane                                      Great Commission                   D
          Gay                      Nashville, TN 37218                                 Church                             E/F    3.24
                                                                                                                          G




  2.74    Djondel NMN              3615 Echo Lane                                      IRS                                D
          Gay                      Nashville, TN 37218                                                                    E/F    2.1
                                                                                                                          G




  2.75    Djondel NMN              3615 Echo Lane                                      Joasch Frejuste                    D
          Gay                      Nashville, TN 37218                                                                    E/F    3.25
                                                                                                                          G




  2.76    Djondel NMN              3615 Echo Lane                                      LENDING POINT                      D
          Gay                      Nashville, TN 37218                                                                    E/F    3.26
                                                                                                                          G




  2.77    Djondel NMN              3615 Echo Lane                                      LendingPoint LLC.                  D
          Gay                      Nashville, TN 37218                                                                    E/F    3.27
                                                                                                                          G




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  2.78    Djondel NMN              3615 Echo Lane                                      Leonard A                          D
          Gay                      Nashville, TN 37218                                 Jeancharles                        E/F    3.28
                                                                                                                          G




  2.79    Djondel NMN              3615 Echo Lane                                      Lile Charles                       D
          Gay                      Nashville, TN 37218                                                                    E/F    3.29
                                                                                                                          G




  2.80    Djondel NMN              3615 Echo Lane                                      Manita Noel Daniel                 D
          Gay                      Nashville, TN 37218                                                                    E/F    3.30
                                                                                                                          G




  2.81    Djondel NMN              3615 Echo Lane                                      Marie France                       D
          Gay                      Nashville, TN 37218                                                                    E/F    3.31
                                                                                                                          G




  2.82    Djondel NMN              3615 Echo Lane                                      Marie Joceline Lamy                D
          Gay                      Nashville, TN 37218                                                                    E/F    3.32
                                                                                                                          G




  2.83    Djondel NMN              3615 Echo Lane                                      Marie Lourde                       D
          Gay                      Nashville, TN 37218                                 Francois                           E/F    3.33
                                                                                                                          G




  2.84    Djondel NMN              3615 Echo Lane                                      Mariner Finance                    D
          Gay                      Nashville, TN 37218                                                                    E/F    3.34
                                                                                                                          G




  2.85    Djondel NMN              3615 Echo Lane                                      Mercidieu Delva                    D
          Gay                      Nashville, TN 37218                                                                    E/F    3.35
                                                                                                                          G




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  2.86    Djondel NMN              3615 Echo Lane                                      Mireille Arthur                    D
          Gay                      Nashville, TN 37218                                                                    E/F    3.36
                                                                                                                          G




  2.87    Djondel NMN              3615 Echo Lane                                      Mireille Arthur                    D
          Gay                      Nashville, TN 37218                                                                    E/F    3.37
                                                                                                                          G




  2.88    Djondel NMN              3615 Echo Lane                                      Moisena Dorcelis                   D
          Gay                      Nashville, TN 37218                                                                    E/F    3.38
                                                                                                                          G




  2.89    Djondel NMN              3615 Echo Lane                                      Nerlandsha Makie                   D
          Gay                      Nashville, TN 37218                                 Petion                             E/F    3.39
                                                                                                                          G




  2.90    Djondel NMN              3615 Echo Lane                                      Nickson Sylvestre                  D
          Gay                      Nashville, TN 37218                                                                    E/F    3.40
                                                                                                                          G




  2.91    Djondel NMN              3615 Echo Lane                                      Nise Francois                      D
          Gay                      Nashville, TN 37218                                                                    E/F    3.41
                                                                                                                          G




  2.92    Djondel NMN              3615 Echo Lane                                      Raoul Pierre Paul                  D
          Gay                      Nashville, TN 37218                                                                    E/F    3.42
                                                                                                                          G




  2.93    Djondel NMN              3615 Echo Lane                                      Syncb/ccdstr                       D
          Gay                      Nashville, TN 37218                                                                    E/F    3.43
                                                                                                                          G




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  2.94    Djondel NMN              3615 Echo Lane                                      Synchrony Bank                     D
          Gay                      Nashville, TN 37218                                                                    E/F    3.44
                                                                                                                          G




  2.95    Djondel NMN              3615 Echo Lane                                      Synchrony Bank                     D
          Gay                      Nashville, TN 37218                                                                    E/F    3.45
                                                                                                                          G




  2.96    Djondel NMN              3615 Echo Lane                                      Tout Est Bien Petion               D
          Gay                      Nashville, TN 37218                                                                    E/F    3.46
                                                                                                                          G




  2.97    Djondel NMN              3615 Echo Lane                                      Yvenie Petion                      D
          Gay                      Nashville, TN 37218                                                                    E/F    3.47
                                                                                                                          G




  2.98    Djondel NMN              3615 Echo Lane                                      Zaky Louis                         D
          Gay                      Nashville, TN 37218                                                                    E/F    3.48
                                                                                                                          G




  2.99    Financial                                                                    Ageleur Clauvil                    D
          Investment                                                                                                      E/F    3.1
          Holding, LLC
                                                                                                                          G




  2.10    Financial                                                                    Aldous and                         D
  0       Investment                                                                   Associates, PLLC                   E/F    3.2
          Holding, LLC
                                                                                                                          G




  2.10    Financial                                                                    Amex                               D
  1       Investment                                                                                                      E/F    3.3
          Holding, LLC
                                                                                                                          G




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  2.10    Financial                                                                    Angliche Petion                    D
  2       Investment                                                                                                      E/F    3.4
          Holding, LLC
                                                                                                                          G




  2.10    Financial                                                                    Angliche Petion                    D
  3       Investment                                                                                                      E/F    3.5
          Holding, LLC
                                                                                                                          G




  2.10    Financial                                                                    Annette Pierrette                  D
  4       Investment                                                                                                      E/F    3.6
          Holding, LLC
                                                                                                                          G




  2.10    Financial                                                                    Ascend Federal                     D
  5       Investment                                                                   Credit Union                       E/F    3.7
          Holding, LLC
                                                                                                                          G




  2.10    Financial                                                                    Ascend Federal                     D
  6       Investment                                                                   Credit Union                       E/F    3.8
          Holding, LLC
                                                                                                                          G




  2.10    Financial                                                                    Astrogildo Souza                   D
  7       Investment                                                                   Dos Santos                         E/F    3.9
          Holding, LLC
                                                                                                                          G




  2.10    Financial                                                                    Astrogildo Souza                   D
  8       Investment                                                                   Dos Santos                         E/F    3.10
          Holding, LLC
                                                                                                                          G




  2.10    Financial                                                                    Bank of America                    D
  9       Investment                                                                                                      E/F    3.11
          Holding, LLC
                                                                                                                          G




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  2.11    Financial                                                                    Beatrice Mentor                    D
  0       Investment                                                                                                      E/F    3.12
          Holding, LLC
                                                                                                                          G




  2.11    Financial                                                                    Caleb Nahum Petion                 D
  1       Investment                                                                                                      E/F    3.13
          Holding, LLC
                                                                                                                          G




  2.11    Financial                                                                    CHEADLE LAW                        D
  2       Investment                                                                                                      E/F    3.14
          Holding, LLC
                                                                                                                          G




  2.11    Financial                                                                    Chika Ibejiuba                     D
  3       Investment                                                                                                      E/F    3.15
          Holding, LLC
                                                                                                                          G




  2.11    Financial                                                                    Declan Dire                        D
  4       Investment                                                                                                      E/F    3.16
          Holding, LLC
                                                                                                                          G




  2.11    Financial                                                                    Edith Francois                     D
  5       Investment                                                                                                      E/F    3.17
          Holding, LLC
                                                                                                                          G




  2.11    Financial                                                                    Evariste Amisial                   D
  6       Investment                                                                                                      E/F    3.18
          Holding, LLC
                                                                                                                          G




  2.11    Financial                                                                    First Premier Bank                 D
  7       Investment                                                                                                      E/F    3.19
          Holding, LLC
                                                                                                                          G




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  2.11    Financial                                                                    Foursight Capital,                 D
  8       Investment                                                                   LLC.                               E/F    3.20
          Holding, LLC
                                                                                                                          G




  2.11    Financial                                                                    Garline L Petion                   D
  9       Investment                                                                                                      E/F    3.21
          Holding, LLC
                                                                                                                          G




  2.12    Financial                                                                    Gesner Charles                     D
  0       Investment                                                                                                      E/F    3.22
          Holding, LLC
                                                                                                                          G




  2.12    Financial                                                                    Gladys Guillaume                   D
  1       Investment                                                                                                      E/F    3.23
          Holding, LLC
                                                                                                                          G




  2.12    Financial                                                                    Great Commission                   D
  2       Investment                                                                   Church                             E/F    3.24
          Holding, LLC
                                                                                                                          G




  2.12    Financial                                                                    IRS                                D
  3       Investment                                                                                                      E/F    2.1
          Holding, LLC
                                                                                                                          G




  2.12    Financial                                                                    Joasch Frejuste                    D
  4       Investment                                                                                                      E/F    3.25
          Holding, LLC
                                                                                                                          G




  2.12    Financial                                                                    LENDING POINT                      D
  5       Investment                                                                                                      E/F    3.26
          Holding, LLC
                                                                                                                          G




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  2.12    Financial                                                                    LendingPoint LLC.                  D
  6       Investment                                                                                                      E/F    3.27
          Holding, LLC
                                                                                                                          G




  2.12    Financial                                                                    Leonard A                          D
  7       Investment                                                                   Jeancharles                        E/F    3.28
          Holding, LLC
                                                                                                                          G




  2.12    Financial                                                                    Lile Charles                       D
  8       Investment                                                                                                      E/F    3.29
          Holding, LLC
                                                                                                                          G




  2.12    Financial                                                                    Manita Noel Daniel                 D
  9       Investment                                                                                                      E/F    3.30
          Holding, LLC
                                                                                                                          G




  2.13    Financial                                                                    Marie France                       D
  0       Investment                                                                                                      E/F    3.31
          Holding, LLC
                                                                                                                          G




  2.13    Financial                                                                    Marie Joceline Lamy                D
  1       Investment                                                                                                      E/F    3.32
          Holding, LLC
                                                                                                                          G




  2.13    Financial                                                                    Marie Lourde                       D
  2       Investment                                                                   Francois                           E/F    3.33
          Holding, LLC
                                                                                                                          G




  2.13    Financial                                                                    Mariner Finance                    D
  3       Investment                                                                                                      E/F    3.34
          Holding, LLC
                                                                                                                          G




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  2.13    Financial                                                                    Mercidieu Delva                    D
  4       Investment                                                                                                      E/F    3.35
          Holding, LLC
                                                                                                                          G




  2.13    Financial                                                                    Mireille Arthur                    D
  5       Investment                                                                                                      E/F    3.36
          Holding, LLC
                                                                                                                          G




  2.13    Financial                                                                    Mireille Arthur                    D
  6       Investment                                                                                                      E/F    3.37
          Holding, LLC
                                                                                                                          G




  2.13    Financial                                                                    Moisena Dorcelis                   D
  7       Investment                                                                                                      E/F    3.38
          Holding, LLC
                                                                                                                          G




  2.13    Financial                                                                    Nerlandsha Makie                   D
  8       Investment                                                                   Petion                             E/F    3.39
          Holding, LLC
                                                                                                                          G




  2.13    Financial                                                                    Nickson Sylvestre                  D
  9       Investment                                                                                                      E/F    3.40
          Holding, LLC
                                                                                                                          G




  2.14    Financial                                                                    Nise Francois                      D
  0       Investment                                                                                                      E/F    3.41
          Holding, LLC
                                                                                                                          G




  2.14    Financial                                                                    Raoul Pierre Paul                  D
  1       Investment                                                                                                      E/F    3.42
          Holding, LLC
                                                                                                                          G




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  2.14    Financial                                                                    Syncb/ccdstr                       D
  2       Investment                                                                                                      E/F    3.43
          Holding, LLC
                                                                                                                          G




  2.14    Financial                                                                    Synchrony Bank                     D
  3       Investment                                                                                                      E/F    3.44
          Holding, LLC
                                                                                                                          G




  2.14    Financial                                                                    Synchrony Bank                     D
  4       Investment                                                                                                      E/F    3.45
          Holding, LLC
                                                                                                                          G




  2.14    Financial                                                                    Tout Est Bien Petion               D
  5       Investment                                                                                                      E/F    3.46
          Holding, LLC
                                                                                                                          G




  2.14    Financial                                                                    Yvenie Petion                      D
  6       Investment                                                                                                      E/F    3.47
          Holding, LLC
                                                                                                                          G




  2.14    Financial                                                                    Zaky Louis                         D
  7       Investment                                                                                                      E/F    3.48
          Holding, LLC
                                                                                                                          G




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Fill in this information to identify the case:

Debtor name         Akademi Opyson Komes, LLC

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                  Unknown
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                                  Unknown
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1


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Debtor      Akademi Opyson Komes, LLC                                                           Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




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      Description of the property lost and              Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                            lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid claims on Official Form 106A/B (Schedule
                                                        A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received                If not money, describe any property transferred              Dates               Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    LEFKOVITZ & LEFKOVITZ
               908 HARPETH VALLEY
               PLACE
               NASHVILLE, TN 37221                         Attorney Fees                                                                          $2,500.00

               Email or website address
               slefkovitz@lefkovitz.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                              Describe any property transferred                    Dates transfers             Total amount or
                                                                                                                were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
              Address                                   payments received or debts paid in exchange                was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
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    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own




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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 5


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          within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                                 If any books of account and records are
                                                                                                       unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                      Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                         or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient              Amount of money or description and value of                Dates               Reason for
                                                        property                                                                       providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                        Employer Identification number of the parent
                                                                                                         corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                              Employer Identification number of the pension
                                                                                                         fund

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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 13, 2023

/s/ Djhondel NMN Gay                                            Djhondel NMN Gay
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Chief Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 7


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                                                        United States Bankruptcy Court
                                                             Middle District of Tennessee
 In re       Akademi Opyson Komes, LLC                                                                        Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,500.00
             Prior to the filing of this statement I have received                                        $                     2,500.00
             Balance Due                                                                                  $                         0.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):      shareholder's wife

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 In addition to providing analysis of the debtor's financial situation, rendering advice, preparation and filing of
                 any petition, statements and schedules, and representation of the debtor at Meeting of Creditors, the fee includes
                 negotiation and preparation of reaffirmation agreements, and discussions with the Chapter 7 Trustee, debtor(s),
                 creditor(s), and parties-in-interest as necessary concerning the case

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Rule 2004 examinations, depositions, interrogatories, or other discovery proceedings;
              Adversary proceedings to determine the dischargeabilty of debt (11 USC §523);
              Adversary proceedings to deny discharge (11 USC §727); Complaints to avoid lien(s);
              Motions/Complaints after entry of the discharge and/or closing of the case; Amending Schedules D, E, & F after
              the filing of the bankruptcy case; Other adversarial litigation. Conversion to another Bankruptcy Chapter under
              the Bankruptcy Code
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     June 13, 2023                                                            /s/ Steven L. Lefkovitz
     Date                                                                     Steven L. Lefkovitz 5953
                                                                              Signature of Attorney
                                                                              LEFKOVITZ & LEFKOVITZ
                                                                              908 HARPETH VALLEY PLACE
                                                                              NASHVILLE, TN 37221
                                                                              615-256-8300 Fax: 615-255-4516
                                                                              slefkovitz@lefkovitz.com
                                                                              Name of law firm




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                                   VERIFICATION OF CREDITOR MATRIX


I, the Chief Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     June 13, 2023                                 /s/ Djhondel NMN Gay
                                                        Djhondel NMN Gay/Chief Manager
                                                        Signer/Title




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AKADEMI OPYSON KOMES, LLC            BEATRICE MENTOR                  FIRST PREMIER BANK
3615 ECHO LANE                       3855 VANDYKE AVE                 ATTN: BANKRUPTCY
NASHVILLE TN 37218                   SAN DIEGO CA 92105               PO BOX 5524
                                                                      SIOUX FALLS SD 57117
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STEVEN L. LEFKOVITZ                  CALEB NAHUM PETION               FOURSIGHT CAPITAL, LLC.
LEFKOVITZ & LEFKOVITZ                408 DECATUR AVE                  ATTN: BANKRUPTCY
908 HARPETH VALLEY PLACE             SALISBURY MD 21804               PO BOX 45026
NASHVILLE, TN 37221                                                   SALT LAKE CITY UT 84145


AGELEUR CLAUVIL                      CHEADLE LAW                      GARLINE L PETION
200 BEAUFORT LANE                    2404 CRESTMOOR ROAD              204 BEAVER DAM DR
MILFORD DE 19963                     NASHVILLE TN 37215               SALISBURY MD 21804




ALDOUS AND ASSOCIATES, PLLC          CHIKA IBEJIUBA                   GESNER CHARLES
ATTN: BANKRUPTCY                     110 WEST KINGSBRIDGE ROAD        515 EAST ISABELLA STREET
PO BOX 171374                        MOUNT VERNON NY 10550            SALISBURY MD 21804
HOLLADAY UT 84117


AMEX                                 DECLAN DIRE                      GLADYS GUILLAUME
CORRESPONDENCE/BANKRUPTCY            49 SOULICE PLACE                 315 TILGHMAN ST.
PO BOX 981540                        NEW ROCHELLE NY 10804            SALISBURY MD 21804
EL PASO TX 79998


ANGLICHE PETION                      DJONDEL GAY                      GREAT COMMISSION CHURCH
204 BEAVER DAM DR                    3615 ECHO LANE                   225 N DIVISION ST
SALISBURY MD 21804                   NASHVILLE TN 37218               SALISBURY MD 21801




ANNETTE PIERRETTE                    DJONDEL NMN GAY                  IRS
1214 DIVISION ST.                    3615 ECHO LANE                   CNTRLZD INSOLVENCY OPRTN
SALISBURY MD 21801                   NASHVILLE TN 37218               PO BOX 7346
                                                                      PHILADELPHIA PA 19101-7346


ASCEND FEDERAL CREDIT UNION          EDITH FRANCOIS                   JOASCH FREJUSTE
ATTN: BANKRUPTCY                     606 LIBERTY ST                   606 LIBERTY STREET
PO BOX 1210                          SALISBURY MD 21804               SALISBURY MD 21804
TULLAHOMA TN 37388


ASTROGILDO SOUZA DOS SANTOS       EVARISTE AMISIAL                    LENDING POINT
RUA MANUEL VIERRA LEITE CEP 41.130.760
                                  6770 EDWARDS AVE                    1201 ROBERTS BLVD #200
                                  SALISBURY MD 21804                  KENNESAW GA 30144




BANK OF AMERICA                      FINANCIAL INVESTMENT HOLDING, LLC LENDINGPOINT LLC.
ATTN: BANKRUPTCY                                                       ATTN: BANKRUPTCY
4909 SAVARESE CIRCLE                                                   1201 ROBERTS BLVD SUITE 200
TAMPA FL 33634                                                         KENNESAW GA 30144


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LEONARD A JEANCHARLES                NERLANDSHA MAKIE PETION
3855 VANDYKE AVE                     420 DOVER ST
SAN DIEGO CA 92105                   SALISBURY MD 21804




LILE CHARLES                         NICKSON SYLVESTRE
515 ISABELLA ST                      5362 ERIKA PL
SALISBURY MD 21804                   LAKE WORTH FL 33463




MANITA NOEL DANIEL                   NISE FRANCOIS
2460 NW 63RD TER                     1886 MATHORN DR
FORT LAUDERDALE FL 33313             ORLANDO FL 32818




MARIE FRANCE                         RAOUL PIERRE PAUL
474 HAWKINS RD                       39 BUTTERCUP CIR N
SELDEN NY 11784                      PALM BEACH GARDENS FL 33410




MARIE JOCELINE LAMY                  SYNCB/CCDSTR
204 BEAVER DAM DR                    ATTN: BANKRUPTCY
SALISBURY MD 21804                   PO BOX 965060
                                     ORLANDO FL 32896


MARIE LOURDE FRANCOIS                SYNCHRONY BANK
732 HEMLOCK ST                       ATTN: BANKRUPTCY
SALISBURY MD 21804                   PO BOX 965060
                                     ORLANDO FL 32896


MARINER FINANCE                      TOUT EST BIEN PETION
ATTN: BANKRUPTCY                     423 DECATUR AVE
8211 TOWN CENTER DRIVE               SALISBURY MD 21804
NOTTINGHAM MD 21236


MERCIDIEU DELVA                      YVENIE PETION
13406 GRACE LANE                     423 DOVER ST
DELMAR DE 19940                      SALISBURY MD 21804




MIREILLE ARTHUR                      ZAKY LOUIS
431 W 200 S APT 1                    515 ISABELLA ST
PROVO UT 84601                       SALISBURY MD 21804




MOISENA DORCELIS
1404 EMERSON AVE
SALISBURY MD 21801



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                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Akademi Opyson Komes, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Djondel Gay
3615 Echo Lane
Nashville, TN 37218




  None [Check if applicable]




June 13, 2023                                    /s/ Steven L. Lefkovitz
Date                                             Steven L. Lefkovitz 5953
                                                 Signature of Attorney or Litigant
                                                 Counsel for Akademi Opyson Komes, LLC
                                                 LEFKOVITZ & LEFKOVITZ
                                                 908 HARPETH VALLEY PLACE
                                                 NASHVILLE, TN 37221
                                                 615-256-8300 Fax:615-255-4516
                                                 slefkovitz@lefkovitz.com




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